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       Trustee of the Sonja Dinihanian GST Trust
7      DTS 01/01/11
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       Counsel for Defendant and Debtor                Counsel for Defendant
13     15005 NW Cornell LLC                            Eagle Holdings LLC
14
                                    UNITED STATES BANKRUPTCY COURT
15
                                          FOR THE DISTRICT OF OREGON
16
       In re
17
       15005 NW CORNELL LLC, and                       19-31883-dwh11 (Lead Case)
18
       VAHAN M. DINIHANIAN, JR.                        19-31886-dwh11
19
                             Debtors. 1                Jointly Administered Under
20
                                                       Case No. 19-31883-dwh11
21

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24
       1
25      The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification
       number, are: 15005 NW Cornell LLC (5523) and Vahan M. Dinihanian, Jr. (0871) (Case No. 19-31886-
26     dwh11)).
                                                                                   Perkins Coie LLP
PAGE   1-      STIPULATED MOTION FOR EXTENSION OF                            1120 N.W. Couch Street, 10th Floor
               TIME TO FILE SUMMARY JUDGMENT                                     Portland, OR 97209-4128
               MOTIONS                                                             Phone: 503.727.2000
       153316307.1                                                                  Fax: 503.727.2222
                                 Case 20-03077-dwh        Doc 32     Filed 08/03/21
1
       TASHA TEHERANI-AMI, IN HER                             Adv. Proc. No. 20-03077
2      CAPACITY AS THE TRUSTEE OF THE
       SONJA DINIHANIAN GST TRUST DTS
3      01/01/11                                              STIPULATED MOTION FOR EXTENSION
                                                             OF TIME TO FILE SUMMARY
4                                Plaintiff,                  JUDGMENT MOTIONS
5             v.

6      VAHAN M. DINIHANIAN, JR.; 15005
       NW CORNELL LLC; and EAGLE
7      HOLDINGS LLC;
8
                                 Defendants.
9

10                                                          MOTION

11                 Counsel for plaintiff Tasha Teherani-Ami, in her capacity as the Trustee of the Sonja Dinihanian

12     GST Trust DTS 01/01/11 (the “Trust”) and defendants 15005 NW Cornell LLC (“Cornell”), Vahan M.

13     Dinihanian, Jr. (“Mr. Dinihanian”), and Eagle Holdings LLC (“Eagle Holdings,” and together with the

14     Trust, Cornell, and Mr. Dinihanian the “Parties”) respectfully move the Court to enter an Order in the

15     form of the attached (Exhibit 1) on a stipulated basis, extending the deadline for the Parties to file

16     Summary Judgment Motions from August 3, 2021 to August 5, 2021.

17                 In support of this motion, the Parties assert the following:

18                 1.     On June 29, 2021, the Court held a Continued Pretrial Conference at which the Parties

19     agreed, as reflected in the Record of Proceeding (Dkt. 29), that Summary Judgment Motions would be

20     filed on or before August 3, 2021.

21                 2.     The Parties have discussed the deadline and have mutually agreed the date should be

22     extended by two days, from August 3, 2021 to August 5, 2021, and to respectfully convey that request

23     on a stipulated basis to the Court.

24     ///

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                                                                                         Perkins Coie LLP
PAGE   2-    STIPULATED MOTION FOR EXTENSION OF                                    1120 N.W. Couch Street, 10th Floor
             TIME TO FILE SUMMARY JUDGMENT                                             Portland, OR 97209-4128
             MOTIONS                                                                     Phone: 503.727.2000
       153316307.1                                                                        Fax: 503.727.2222
                                      Case 20-03077-dwh          Doc 32     Filed 08/03/21
1               3.   The Parties agree the remainder of the briefing and hearing schedule should remain the

2      same.

3

4               IT IS SO STIPULATED.

5      DATED: August 3, 2021                           WYSE KADISH LLP
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12                                                    Tasha Teherani-Ami, in her capacity as the
                                                      Trustee of the Sonja Dinihanian GST Trust DTS
13                                                    01/01/11
14
       Dated: August 3, 2021                           PERKINS COIE LLP
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                                                                                  Perkins Coie LLP
PAGE   3-    STIPULATED MOTION FOR EXTENSION OF                             1120 N.W. Couch Street, 10th Floor
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             MOTIONS                                                              Phone: 503.727.2000
       153316307.1                                                                 Fax: 503.727.2222
                                Case 20-03077-dwh        Doc 32     Filed 08/03/21
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       DATED: August 3, 2021                       MOTSCHENBACHER & BLATTNER,
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9                                              Vahan M. Dinihanian, Jr.
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       DATED: August 3, 2021                       VANDEN BOS & CHAPMAN, LLP
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17                                             Counsel for Defendant
                                               Eagle Holdings LLC
18

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                                                                            Perkins Coie LLP
PAGE   4-    STIPULATED MOTION FOR EXTENSION OF                       1120 N.W. Couch Street, 10th Floor
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             MOTIONS                                                        Phone: 503.727.2000
       153316307.1                                                           Fax: 503.727.2222
                               Case 20-03077-dwh    Doc 32    Filed 08/03/21
 EXHIBIT 1




Case 20-03077-dwh   Doc 32   Filed 08/03/21
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8
                                     UNITED STATES BANKRUPTCY COURT
9
                                          FOR THE DISTRICT OF OREGON
10

11     In re

12     15005 NW CORNELL LLC, and                       19-31883-dwh11 (Lead Case)

13     VAHAN M. DINIHANIAN, JR.                        19-31886-dwh11
14                           Debtors. 1                Jointly Administered Under
                                                       Case No. 19-31883-dwh11
15
       TASHA TEHERANI-AMI, IN HER                      Adv. Proc. No. 20-03077
16     CAPACITY AS THE TRUSTEE OF THE
       SONJA DINIHANIAN GST TRUST DTS
17     01/01/11                                        ORDER GRANTING STIPULATED
                                                       MOTION FOR EXTENSION OF TIME
18
                            Plaintiff,                 TO FILE SUMMARY JUDGMENT
                                                       MOTIONS
19             v.
20     VAHAN M. DINIHANIAN, JR.; 15005
       NW CORNELL LLC; and EAGLE
21
       HOLDINGS LLC;
22
                            Defendants.
23

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25      The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification
       number, are: 15005 NW Cornell LLC (5523) and Vahan M. Dinihanian, Jr. (0871) (Case No. 19-31886-
26     dwh11)).
                                                                                   Perkins Coie LLP
PAGE   1-      ORDER GRANTING STIPULATED MOTION                              1120 N.W. Couch Street, 10th Floor
               FOR EXTENSION OF TIME TO FILE                                     Portland, OR 97209-4128
               SUMMARY JUDGMENT MOTIONS                                            Phone: 503.727.2000
       153316307.1                                                                  Fax: 503.727.2222      Exhibit
                                                                                                                1
                                 Case 20-03077-dwh        Doc 32     Filed 08/03/21                   Page 1 of 3
1               THIS MATTER came before the Court on plaintiff Tasha Teherani-Ami, in her capacity as the

2      Trustee of the Sonja Dinihanian GST Trust DTS 01/01/11 (the “Trust”) and defendants 15005 NW

3      Cornell LLC (“Cornell”), Vahan M. Dinihanian, Jr. (“Mr. Dinihanian”), and Eagle Holdings LLC

4      (“Eagle Holdings,” and together with the Trust, Cornell, and Mr. Dinihanian the “Parties”) Stipulated

5      Motion for Extension of Time to File Summary Judgment Motions (the “Motion”). The Court having

6      reviewed the Motion, and being otherwise duly advised, now, therefore,

7               IT IS HEREBY ORDERED as follows:

8               1.     The deadline for the parties to file Summary Judgment Motions is extended to August 5,

9      2021.

10
                                                         ###
11

12     Presented By:

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        of the Sonja Dinihanian GST Trust DTS 01/01/11
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                                                                                   Perkins Coie LLP
PAGE   2-     ORDER GRANTING STIPULATED MOTION                               1120 N.W. Couch Street, 10th Floor
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       153316307.1                                                                  Fax: 503.727.2222      Exhibit
                                                                                                                1
                                  Case 20-03077-dwh       Doc 32     Filed 08/03/21                   Page 2 of 3
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       153316307.1                                                             Fax: 503.727.2222      Exhibit
                                                                                                           1
                                  Case 20-03077-dwh     Doc 32   Filed 08/03/21                  Page 3 of 3
1                                           CERTIFICATE OF SERVICE

2               The undersigned hereby certifies that on the date set forth below they caused the foregoing

3      STIPULATED MOTION FOR EXTENSION OF TIME TO FILE SUMMARY JUDGMENT

4      MOTIONS to be served via the CM/ECF system on the parties set forth below:

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       Dated: August 3, 2021                        PERKINS COIE LLP
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23                                                 Counsel for Defendant and Debtor
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PAGE   1-     CERTIFICATE OF SERVICE                                               Portland, OR 97209-4128
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